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UNITED STATES DISTRICT COURT

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/A K’s

UNITED sTATEs oF AMERICA, ) NAPOL/S ,(,]V'g"/CE

) ’A/VA
Plaimiff, )
)

v. ) cAUsE No.

)
KEle cLEvE_LAND, )

Defendant. § 12 1 8 _Cr--O 07 9 SEB °MJD

PETITION TO ENTER PLEA OF GUILTY AND PLEA AGREElV[ENT

The United States of America, by counsel, Josh J. Minkler, United States Attorney for the
Southern District of Indiana, and Nicholas J. Linder, Assistant United States Attorney, and the
Defendant, KEV]N CLEVELAND, in person and by counsel, Michael J. Donahoe, hereby
inform the Court that a Plea Agreement has been reached in this case pursuant to F ederal Rule of

Criminal Proeedure ll(c)(l)(B). The following are its terms and conditions:

GUILTY PLEA AND CHARGE§S[

l. Plea el Guilty to the _Information: The Defendant agrees to waive formal
indictment and petitions the Court for leave to enter, and agrees to enter, a plea of guilty to
Count l of the lnformation, which charges the Defendant with Altering and Tampering with

Markings on Hazardous Material Cargo Tanks, in violation of 49 U.S.C. §§ 5104(b) and 5124.

2. Potential Maximum Penalties: The Defendant understands that the offense of
Altering and Tampering with Markings on llazardous Material Cargo Tanks, in violation of 49
U.S.C. §§ 5104(b) anii 5124, to which the Defendant is pleading guilty, as charged in the
Information, is punishable by a maximum Sentence of 5 years’ imprisonment; a $250,000 fme; and

three (3) years’ supervised release following the term of imprisonment

 

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3. Elements of the Offense: To sustain a conviction for the offense of Altering and
Tampering With Markings on Hazardous Material Cargo Tanks, in violation of 49 U.S.C.
§§ 5104(b) and 5124, to which the Defendant is pleading guilty, as charged in Count 1 of the
Information, the government would need to prove each of the following elements beyond a
reasonable doubt:

F[RST: The defendant altered, removed, destroyed, or otherwise
tampered unlawfully With a marking, label, placard, or
description on a document required by the Hazardous Materials
Transportation Act; and

SECOND: The Defendant did so knowingly, that is, the Defendant acted
with actual knowledge of the facts giving rise to the violation,

or a reasonable person acting in the circumstances and
exercising reasonable care would have that knowledge.

GENERAL PROVISIONS
4. Rights Under Rule ll(b), Fed. R. Crim. P.: The Defendant understands that the _
Governrnent has the right, in a prosecution for perjury or false statement, to use against the
Defendant any statement that the Defendant gives under oath during the guilty plea colloquy. The
Defendant also understandsthat the Defendant has the rights (A) to plead not guilty, or having
already so pleaded, the right to persist in that plea; (B) to a jury trial; (C) to be represented by
counsel - and if necessary have the court appoint counsel - at trial and at every other stage of the
proceedings, including appeal; and (D) to confront and cross-examine adverse Witnesses, to be
protected from compelled self-incrimination, to testify and present evidence, and to compel the
attendance of witnesses. The Defendant also understands that the Constitution guarantees the right

to be considered for release until triall; and if found guilty of the charge(s), the right to appeal the

 

lTitle 18, U.S.C. §§ 314ll-3 156, Release and Detention Pending Judicial Proceedings.

 

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conviction on such charge(s) to a higher court. The Defendant understands that if the Court accepts
this plea of guilty, the Defendant waives all of these rights.

5. Sentencing Court’s Discretion Within Statutory Range: The Defendant agrees
and understands that: (A) the Court will use its discretion to fashion a sentence within the statutory
range(s) set forth above; (B) the Court will consider the factors set forth in 18 U.S.C. § 35 53(a) in
determining the appropriate sentence within the statutory range(s); (C) the Court will also consult
and take into account the United States Sentencing Guidelines (“Sentencing Guidelines” or
“U.S.S.G.”) in determining the appropriate sentence within the statutory range(s); (D) the
Sentencing Guidelines are not mandatory or binding on the Court, but are advisory in nature; (E)
restitution may be irnposed; (F) by pleading “Guilty” to more than one offense (Count), the Court
may order the sentences to be served consecutively one after another; (G) the final determination
concerning the applicable advisory guideline calculation,`criminal history category, and advisory
sentencing guideline range will be made by the Court; and (H) by pleading “Guilty,” the Court
may impose the same punishment as if the Defendant had plead “Not Guilty,” had stood trial and
been convicted by ajury.

6. Sentencing Court Not Bound by Guidelines or Recommendations: The
Defendant acknowledges that this Plea Agreement is governed by Federal Rule of Criminal
Procedure ll(c)(l)(B) and that the determination of the Defendant’s sentence is Within the
discretion of the Court. The Defendant understands that if the Court decides to impose a sentence
higher or lower than any recommendation of either party, or determines a different advisory
sentencing guideline range applies in this case, or decides to impose a sentence outside of the
advisory sentencing guideline range for any reason, then the Defendant will not be permitted to

withdraw this plea of guilty for that reason and will be bound by this plea of guilty.

 

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7. No Limitation on Background Information: r[he Defendant acknowledges and
understands that no limitation shall be placed upon the Court’s consideration of information
concerning the background, character, and conduct of the Defendant for the purpose of imposing
an appropriate sentence. The Defendant acknowledges and understands that the Government is
not prohibited from providing information concerning background, character, and conduct of the
Defendant for the purpose of recommending or advocating an appropriate guideline calculation
and sentence.

, 8. Plea Agreement Based on Information Presently Known: The Defendant
recognizes and understands that this Plea Agreement is based upon the information presently
known to the Govemnient. The Government agrees not to bring other federal charges against the
Defendant for the conduct described in the Information based on information currently known to
the _United States Attorney for the Southern District of lndiana.

9. No Pro§tection From Prosecution for Unknown or Subsequent Offenses: The
Defendant acknowled {es and agrees that nothing in this agreement shall protect the Defendant in
any way from prosecution for any offense not specifically covered by this agreement, or not known
to the United States Attorney for the Southern District of Indiana at this time. The Defendant
further acknowledges and agrees that nothing in this agreement shall protect the Defendant inn any
way from prosecution for any offense committed after the date of this agreement

10. Good Behavior Requirement: The Defendant understands that the obligations of
the Government in this Plea Agreement are expressly contingent upon the Defendant abiding by
federal and state laws. Additionally, the Defendant agrees to fully comply with all conditions of

release during any and all stages of this case, should such conditions be imposed by the Court. If

 

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the Defendant violates any state or federal law, or fails to fully comply with conditions of release,

then the Government may at its sole discretion withdraw from this Plea Agreement

sENTENCE oF lMPRIsoNi\/rENT
l l. Sentencing Recommendation Pursuant to Federal Rule of Criminal Proeedure
11(c)(1)(B): The parties have rig agreed upon a specific sentence of imprisonment The parties
reserve the right to present evidence and arguments concerning what they believe to be the
appropriate sentence in this matter.
a. Government’s Recommendation:

i. The Government agrees to recommend a term of imprisonment
within the advisory Guidelines range, as calculated by the Court. In the event that
the advisory Guidelines range calculated by the Court lies within “Zone A”_ of the
Sentencing Table, then in accordance with U.S.S.G. § 5Cl.l(b), the Government
agrees to recommend a sentence of probation for a term of three years.

:ii. _ The Government’s agreement to recommend such a sentence is
contingent upon the Defendant (a) continuing to fully accept responsibility for the

. offense and not falsely denying or frivolously contesting relevant conduct that the
Court determines to be true, (b) not committing a new criminal offense before the
date of sentencing, and (c) not otherwise violating the terms of any pre-trial release
before the date of sentencing
b. f Defendant’s Recommendation: The Defendant is free to ask for any

sentence, including one below the advisory Guidelines range.
lZ. Term of Supervised Release: Both parties reserve the right to present evidence

and arguments concerning whether the Court should impose a term of supervised release to follow

 

 

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any term of imprisonment in this case, the duration of any term of supervised release, and the terms
and conditions of the release.

13. Conditions of Probation or Supervised Release: The parties stipulate and agree
that any sentence of probation or supervised release should include, among other conditions, the
following two conditions:

a. “You shall notify the probation officer and the Federal Motor Carrier Safety
Administration of the U.S. Departrnent of Transportation (‘-‘Motor Carriers”) of the
overnight location of all cargo tankers that you either own or transport You shall notify
the probation officer and Motor Carriers within at least 72 hours prior to any planned
change in the overnight location of such cargo tankers.”

b. l “You shall permit the probation of_flcer, a representative of Motor Carriers,
and/or a Special Agent With the U.S. Departrnent of Transportation Offlce of Inspector _
General to visually- inspect any cargo tankers that you either own or transport, including

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inspection of aby markings, placards, or labels. You shall also, upon request, present to

the probation officer, a representative of Motor Carriers, and/or a Special Agent with the

U.S. Department of Transportation Office of lnspector General any documentation relating

to such cargo tankers, including documentation relating to ownership, transports, repairs,

and inspectionsi.”_

 

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MONETARY PROVISIONS AND FORFEITURE

14. Fine: The.parties have n_ot agreed on whether the Court should impose a fme, or
the amount of any fine imposed. The parties reserve the right to present evidence and arguments
concerning what they believe to be the appropriate sentence in this matter. The Defendant
understands that the amount and payment terms of any fine will be determined by the Court.

a. v Governmentis Recommendation: The Government agrees to recommend

a fine of $1,000, provided the Defendant (a) continues to fully accept responsibility for the

offense and does not falsely deny or frivolously contest relevant conduct that the Court

determines to be true, (b) does not commit a new criminal offense before the date of
sentencing, and (c) does not otherwise violate the terms of any pre-trial release before the
date of sentencing

b. Defendant’s Recommendation: The Defendant is free to ask for any
amount of a fine be imposed, including no fmc at all.

15 . Mandatory Special Assessment: The Defendant will pay a total of $100 on the
date of sentencing or as ordered by the Court to the Clerk, United States District Court, which
amount represents the mandatory special assessment fee imposed pursuant to 18 U.S.C. § 3013.

16. Obligation to Pay Financial'Component of Sentence: If the Defendant is unable
to pay any financial component of the Defendant’s sentence on the date of sentencing, then the
,Defendant agrees that the payment of the financial component should be a condition of supervised
release as well as an ordered payment through the Inrnate Financial Responsibility Program of the
U.S. Bureau of Prisons.;` The Defendant has a continuing obligation to pay the financial component
of the sentence. The Diefendant further agrees that as of the date of filing this Plea Agreement the
Defendant will provide.all requested financial information, including privacy waivers', consents,

and releases requested by the Government to access records to verify the Defendant’s financial

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disclosures, to the Government for use in the collection of any fines, restitution, and money
judgments imposed by the Court and authorizes the Government to obtain credit reports relating
to the Defendant for use in the collection of any fmes and restitution, and money judgments
imposed by the Court. The Defendant also authorizes the Government to inspect and copy all
financial documents and information held by the United States Probation Off`ice. If the Defendant
is ever incarcerated in connection with this case, the Defendant will participate in the Bureau of
Prisons Inmate Financial Responsibility Program, regardless of whether the Court specifically

directs participation or imposes a schedule of payments.

FACTUAL BASIS FOR GUILTY qPLEA

17. Stipulated Factual Basis: The parties stipulate and agree that the United States
could prove the following facts to a jury beyond a reasonable doubt if the case went to trial. The
parties stipulate and agree that such facts establish a sufficient factual basis for the Defendant’s
plea of guilty to the offense set forth in Paragraph One, above. The parties acknowledge that the
following stipulated facts are only a summary of the Government’s evidence sufficient to prove
the charge to which the Defendant is pleading guilty. The parties reserve the right to present
additional evidence at the time of sentencing, if they so choose. This paragraph is not intended to
foreclose the presentation of such additional evidence. l

a. The Defendant, a resident of Indianapolis, Indiana, operated as an intrastate
carrier of gasoline and diesel fuel within the Southern District of Indiana and elsewhere.

The Defendant owned three cylindrical cargo tankers, including the cargo tanker identified

as “Unit Number 903,” which he used to haul gasoline and diesel fuel from petroleum

distribution terminals to local gas stations (“Tanker 903”). The Defendant kept his cargo

 

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tankers at his place of business at 3752 Kentucky Avenue, Indianapolis, Indiana, which is
within the southern District of rndia_na.

b. Federal law required that cargo tankers carrying hazardous materials such
as gasoline and diesel fuel (“HAZMAT”) on public highways must be regularly inspected
and tested. Specifically, federal law required the Defendant’s Tanker 903 to undergo an
annual external visual inspection and leakage test. Such inspections and tests were to be
performed by trained, registered inspector. Cargo tankers carrying HAZMAT that were
not timely and appropriately inspected and tested could not be lawfully transported
Additionally, federal law required that all HAZMAT tankers be externally marked with the
date of successful completion of each of the required inspections and tests, including the
annual external visual inspection and leakage test.

c. On or about May 24, 2017, a safety investigator with the F ederal Motor
Carrier Safety l?idministration ofthe U.S. Departrnent of Transportation (“Motor Carriers’i)
conducted an iillspection at the Defendant’s place of business. The investigator had given
the Defendant several days’ notice of the inspection. During the inspection, the
investigator observed the external markings on Tanker 903, which purported to show that
that Tanker 903 had undergone the required annual external visual inspection (noted as
“V” on the markings) and pressure tests (noted as “K-EPA- 27” on the markings) in
February of 2017. Thus, according to the markings, Tanker 903 was in compliance with
federal law regarding these required inspections

d. Looking closely, however, the Motor Carriers investigator noticed
abnormalities in the markings on Tanker 903. The investigator asked the Defendant for

documentation of the tests, which the markings indicated had been conducted by a

 

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particular registered inspector. The Defendant provided three sets of paperwork that
purported to document the inspector’s visual inspection and pressure tests noted on Tanker
903’s markings All three sets of paperwork were dated February 12, 2017.

e. The Motor Carriers investigator then contacted the registered inspector who
purportedly conducted the tests on Tanker 903 in February 2017 . ln reality, the registered
inspector had last inspected Tanker 903 on October 10, 2014. The registered inspector
provided its copies of the same three sets of paperwork that the Defendant provided to the
Motor Carriers investigator. Upon comparison, the documents were practically identical.
The only material differences were the dates on the documents: October 10, 2014 on the
registered inspector’s documents, and February 12, 2017 on the Defendant’s documents

f. Later, the Defendant gave a statement to Special Agents of the U.S.
Department of Transportation Office of Inspector General that he had, in fact,' fabricated
the markings ahd the paperwork. He stated that he created the spurious documents the

night before tile Motor Carriers investigator arrived for a scheduled inspection. The

Defendant advised that he knew he was transporting HAZMAT, that such transportation

was subject to inspection and testing requirements, and that transporting HAZMAT
without the required certifications was against the law. He also stated that he knew
falsifying documents was against the law and that his doing so was an attempt to deceive
the Motor Carriers investigator.

g. Records obtained from the petroleum distribution terminals where the
Defendant loaded gasoline and diesel fuel showed that the Defendant transported
HAZMAT in Tanker 903 on numerous occasions during 2017, both before and after May

24, 2017.

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SENTENCING GUIDELINE STIPULATIONS

18. Guideline Computations: Pursuant to Section 6B1.4 of the Sentencing
Guidelines, the parties agree to the Stipulations below. The parties understand and agree that these
Stipulations are binding on the parties but are only a recommendation to the Court and that the
Court will determine the advisory sentencing guidelines applicable inthis case. The parties agree
that no stipulation regarding any factors in Chapter 4, Criminal History Category, of the
Sentencing Guidelines has been made, and that such determination will be made by the Court. The
2016 version of the Sentencing Guidelines has been used by the parties to make the stipulations

. set forth below.

19. Base Offense Level: The parties stipulate that the base offense level is' 8, pursuant
to U.S.S.G. § 2Q1.2(a).

20. Violation Under 49 U.S.C. § 5124: The parties stipulate that because the
Defendant is pleading guilty to a violation of 49`U.S.C. § 5124, the offense level is increased by
2 levels, pursuant U.S.S.G. § 2Q1.2(b)(7).

21. Acceptance of Responsibility: To date, the Defendant has demonstrated a
recognition and affirmative acceptance of personal responsibility for the Defendant’s criminal
conduct. Based upon the Defendant’s willingness to accept a Plea Agreement and enter a plea of
guilty to the criminal conduct noted in this agreement, the Government agrees that the Defendant

should receive a two (2) level reduction provided the Defendant-satisfies the criteria set forth in

Guideline § 3E1.1(a) up to and including the time of sentencing, including that the Defendant shall `

not falsely deny or frivolously contest relevant conduct that the Court determines to be true.

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WAIVER OF RIGHT TO APPEAL

22. Direct Appeal: The Defendant understands that the Defendant has a statutory right
to appeal the conviction and sentence imposed and the manner in which the sentence was
determined Acknowledging this right, and in exchange for the concessions made by the
Government in this Plea Agreement, the Defendant expressly waives the Defendant’s right to
appeal the conviction imposed in this case on any ground, including the right to appeal conferred
by 18 U.S.C. § 3742. The Defendant further agrees that in the event the Court sentences the
Defendant to a term of imprisonment Within or below the advisory guidelines range calculated
by the Court, regardless of how the sentence is determined by the Court, then the Defendant
expressly waives the Defendant’s right to appeal the sentence imposed in this case on any ground, v
including the right to appeal conferred by 18 U.S.C. § 3742. This waiver of appeal specifically
includes all provisions of the guilty plea and sentence imposed, including the length and conditions
supervised release, and the amount of any restitution or fine. The Defendant further expressly
waives any and all challenges to the statute or statutes to which the defendant is pleading guilty on
constitutional grounds, as well as any challenge that the Defendant’s admitted conduct does not
fall within the scope of the applicable statute or statutes:

23.V Later. Ii.egal Challenges: Additionally, the Defendant expressly agrees not to
contest, or seek to modify, the Defendant’s conviction or sentence or the manner in which either
was determined in any later legal proceeding, including but not limited to, an action brought under
18 U.S.C. § 3582 or 28 U.S.C. § 2255. As concerns this Section 3582 waiver, should the United
States Sentencing Commission and/or Congress in the future amend the Sentencing Guidelines to
lower the guideline range that pertains to the Defendant’s offense(s) and explicitly make such an

amendment retroactivd, the Government agrees that it will not argue that this waiver bars the

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Defendant from filing a motion with the district court pursuant to 18 U.S.C. § 3582(0)(2) based on

' that retroactive Guidelines amendment However, if the Defendant files such a motion, the
Government may oppose the motion on any other grounds. Furtherrnore, should the Defendant
seek to appeal an adverse ruling of the district court on such a motion, the Government may claim
that this waiver bars such an appeal. As concerns the Section 2255 waiver, the waiver does not
prevent claims, either on direct or collateral review, that the Defendant received ineffective
assistance of counsel.

24. No Appeal of Supervised Release Term and Conditions: The parties’
reservation of the rights to present evidence and arguments in this Court concerning the length and
conditions of supervised release is not intended to be inconsistent with the Waiver of Appeal
specified above, which includes a waiver of the right to appeal to the length and conditions of the

period of supervised release

PRESENTENCE INVESTIGATION REPORT
25. The Ddfendant requests and consents to the commencement of a presentence
investigation by probat{:ion officers of the United States District Court for purposes of preparing a
Presentence Investigati:on Report at this time and prior to the entry of a formal plea of guilty.
26. The Delfendant further requests and consents to the review of the Defendant’s

Presentence lnvestigation Report by a Judge, Defendant’s counsel, the Defendant, and the

government at any time, including prior to entry of a formal plea of guilty.

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STATElV[ENT OF THE DEFENl)ANT
27 . By signing this document the Defendant acknowledges the following:

a. I have received a copy of the lnformation and have read and discussed it
with my attorney. I believe and feel that I understand every accusation made against me
in this case. 1 wish the Court to omit and consider as waived by me all readings of the
Information in open Court, and all further proceedings including my arraignment

b. I have told my attorney the facts and surrounding circumstances as known
to me concerning the matters mentioned in the Inforrnation, and believe and feel that my
attorney is fully informed as to all such matters My attorney has since informed, counseled
and advised me as to the nature and cause of every accusation against me and as to any
possible defenses I might have in this case.

c. I have read the entire Plea Agreement and discussed it with my attorney.

d. I understand all the terms of the Plea Agreement and those terms correctly
reflect the results of plea negotiations

e. iixcept for the provisions of the Plea Agreement, no officer or agent of any
branch of government (federal, state or local), nor any other person, has made any promise
or suggestion of any kind to me, or within my knowledge to anyone else, that I would

` receive a lighter sentence, or probation, or any other form of leniency, if I would plead
“Guilty.” /I hope to receive probation, but am prepared to accept any punishment permitted
by law which.the Court may see fit to impose. However, I respectfully request that the
Court consider in mitigation of punishment at the time of sentencing the fact that by
voluntarily pleading “Guilty” I have saved the Government and the Court the expense and

inconvenience bf a trial. I understand that before it imposes sentence, the Court will

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address me personally and ask me if I wish to make a statement on my behalf and to present
any information in mitigation of punishment

f. I am fully satisfied with my attorney’s representation during all phases of
this case. My attorney has done all that anyone could do to counsel and assist me and that
I fully understand the proceedings in this case against me,

g. I make no claim of innocence,y and 1 am freely and voluntarily pleading
guilty in this case.

h. I am pleading guilty as set forth in this Plea Agreement because I arn guilty
of the crime(s) ato which I am entering my plea.

i. I understand that if convicted, a Defendant who is not a United States
Citizen may be removed from the United States, denied citizenship, and denied admission
to the United States in the future.

j. My attorney has informed me, and I understand, that I have the right to
appeal any conviction and sentence that l receive, unless l have waived my right to appeal
as part of this Plea Agreement lfI have not Waived my right to appeal, l understand that
I must file a Notice of Appeal within fourteen (14) days of the entry of the judgment in this
case; I further bnderstand that the Clerk of the Court will prepare and file a Notice of
Appeal on my behalf ifI ask that to be done._ I also understand that the United States has
the right to appeal any sentence that 1 receive under this Plea Agreement

k. My attorney has informed me, and I understand, that if I provide or cause
to be providedi materially false information to a judge, magistrate-judge, or probation
office, then Sedtion 3C1.1 of the Sentencing Guidelines allows the-Court to impose a two

level increase in the offense level.

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CERTIFICATE OF COUNSEL

28. By signing this document the Defendant’s attorney and counselor certifies as
follows:

v a. 1 have read and fully explained to the Defendant all the accusations against
the Defendant which are set forth in the Inforrnation in this case;

b. To the best of my knowledge and belief each statement set forth in the
foregoing petition to enter plea of guilty and plea agreement is in all respects accurate and
true;` v

c. The plea of “Guilty” as offered by the Defendant in the foregoing petition
to enter plea of guilty and plea agreement accords with my understanding of the facts as
related to me by the Defendant and is consistent with my advice to the Defendant;

d. In my opinion, the Defendant’s waiver of all reading of the Inforrnation in
open court, and in all further proceedings, including arraignment as provided in Rule 10,
Fed.R.Crim.P.,iy is voluntarily and understandingly made; and I recommend to the Court
that the waiver be accepted by the Court;

‘ e. In my opinion, the plea of l “Guilty” as offered by the Defendant in the
foregoing petition to enter plea of guilty and plea agreement is voluntarily and
understandingly made and I recommend to the Court that the plea of “Guilty” be now
accepted and eilltered on behalf of the Defendant as requested in the foregoing petition to

enter plea of gdilty and plea agreement

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FINAL PROVISION
29. Complete Agreement: The Defendant acknowledges that no threats Promis¢$¢ °*'
representations have been`made, nor agreements reached, other than those Sef_f°“v in this
document to induce the Defendant to plead guilty. This document _is the complete and Ofll~Y Plea
Agreement between the Defendant and the United States Attorney for the Southern District of
Indiana and is binding only on the parties to the plea agreement supersedes all prior
understandings if any, whether written or cral, and cannot be modified except in writing, signed

by all parties.and filed with the Court, or on the record in open court

Respe¢:smy schemes

JOSH .l. MINKLER
United States Attorney

 

Assrstant United States Attorney

 

D TE Steven D. DeBrota
Depnty .Chief, Genera] Crimes

 

   

Attorney for the Defendant

 

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